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        Food Lion LLC (“Food Lion”) and Maryland and Virginia Milk Producers Cooperative

Association, Inc. (“MDVA” and together with Food Lion, “Movants”) hereby file this emergency

motion for relief from the automatic stay to allow Movants to commence an expedited antitrust

action in a United States District Court located in North Carolina (the “District Court”) seeking

to address the anti-competitive effects of the sale of certain of the above-captioned debtors’ (the

“Debtors” or “Dean Foods”) assets free and clear of liens, claims, interests, and encumbrances

(the “DFA Sale”) to Dairy Farmers of America, Inc. (“DFA”), and respectfully state as follows:

                                    PRELIMINARY STATEMENT

        1.     Movants have consistently raised their concerns that the DFA Sale violates antitrust

laws because the combination of the Debtors and DFA will severely restrict competition in the raw

and processed fluid milk markets. Now that the closing of the DFA Sale appears imminent, the

only avenue left for Movants to vindicate their rights under the law is to file suit seeking to enjoin

the DFA Sale. Such suit should be brought in the District Court in the first instance. Therefore,

Movants seek relief from the automatic stay so they may stop this unlawful combination before it

is too late.

        2.     In particular, Movants are concerned about the milk markets in North and South

Carolina. Food Lion operates a number of supermarkets in this region and has experienced

firsthand the anticompetitive conduct perpetrated by the Debtors and DFA in the past. MDVA, a

competing milk cooperative, is the only significant competitor to DFA for the supply of raw milk

in the Carolinas. If the sale to DFA approved by this Court is permitted to close, this competition

will be permanently lost. A combined Dean Foods/DFA will wield even more power to pursue

such anticompetitive behavior at the expense of Food Lion, consumers, MDVA, and other milk

producers.



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       3.      Relief from the stay is appropriate here primarily because it will promote the

interests of judicial economy and the economical resolution of Movants’ claims. Movants should

be allowed to commence their antitrust action in the District Court because such action will

eventually end up in a federal district court, and the District Court is located in the district where

most of the facilities are located that Movants will raise concerns about in their complaint. Thus,

were Movants to bring their claims directly in this Court, such proceeding would be subject to

mandatory withdrawal of the reference. Since a federal district court is the ultimate destination

for Movants’ claims, requiring them to first file in the Bankruptcy Court would simply add

needless cost and delay to the process and consume valuable judicial resources. There is no point

in doing this, particularly in light of the global pandemic currently affecting the country and the

proceedings of this court and other courts.

       4.      In addition, allowing Movants to proceed directly with the claims in District Court

will achieve a prompt and full resolution of the issues. The District Court is the ideal venue to

resolve antitrust claims as such claims are regularly adjudicated there and it is located near the

facilities at issue. Prompt resolution is also necessary because the Debtors have stated that they

expect the DFA Sale to close at the end of April or in early May. Any delay in commencing the

antitrust action may result in the DFA Sale closing before Movants have their day in court,

foreclosing effective pre-closing antitrust relief.

       5.      As a result, the Court should modify the automatic stay to allow Movants to

commence an action in the District Court by seeking to enjoin the sale of certain assets located in

North and South Carolina to DFA.




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                                     JURISDICTION AND VENUE

       6.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction to consider this motion for relief from the automatic stay under 28 U.S.C.

§ 1334. This Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (G).

       7.      Venue is proper before this Court under 28 U.S.C. §§ 1408 and 1409.

       8.      The statutory predicates for the relief requested herein are Section 362 of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 4001(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-1 of the Bankruptcy Local Rules

for the Court (the “Bankruptcy Local Rules”).

                                             BACKGROUND

       9.      Food Lion owns and operates over 1,000 supermarkets in the Southeastern United

States, including in North and South Carolina. In the ordinary course of its business, Food Lion

purchases processed milk and other dairy products directly from the Debtors and DFA for retail

sale at certain of its supermarket stores.

       10.     MDVA is a vertically integrated dairy cooperative owned and operated by 1,000

dairy families from Pennsylvania to Georgia. Like other dairy cooperatives, including DFA,

MDVA markets and sells the raw milk produced by its members’ dairy farms on their behalf.

MDVA also owns and operates milk processing facilities that produce products like milk powder

and butter as well as bottling plants that produce bottled fluid milk, cream, half & half, and similar

products.

       11.     North Carolina is home to four major milk processing facilities, two of which are

owned by the Debtors. South Carolina is home to two major milk processing facilities, one of

which is owned by the Debtors. The three milk processing facilities owned by the Debtors in

North and South Carolina are referred to as the Carolinas Facilities.

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I.     Bankruptcy Proceedings

       12.     On November 12, 2019 (the “Petition Date”) each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”).

       13.     On February 17, 2020, the Debtors filed the Motion of the Debtors for Entry of

Orders (I)(A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving the

Designation of Dairy Farmers of America, Inc. As the Stalking Horse Bidder for Substantially All

the Debtors’ Assets, (C) Authorizing and Approving Entry into the Stalking Horse Asset Purchase

Agreement, (D) Approving Bid Protections, (E) Scheduling Auction for and hearing to Approve,

Sale of Debtors’ Assets, (F) Approving Form and Manner of Notices of Sale, Auction, and Sale

Hearing, (G) Approving Assumption and Assignment Procedures, and (H) Granting related Relief

and (II) (A) Approving Sale of Debtors Assets Free and Clear of Liens, Claims, Interest, and

Encumbrances (B Authorizing Assumption and Assignment of Executory Contracts and Unexpired

Leases, and (C) Granting Related Relief (the “Sale Motion”) [Docket No. 925]. On the same day,

the Bankruptcy Court set a hearing for March 12, 2020 (the “Bid Procedures Hearing”), on the

portion of the Sale Motion to establish bid procedures and to approve DFA as the “Stalking Horse

Bidder” on the assets subject to the Sale Motion.

       14.     On March 9, 2020, Food Lion filed an objection to the proposed bid procedures in

the Sale Motion [Docket No. 1065] due to its concerns about the impact a potential sale to DFA

would have on the milk market. Food Lion proposed changes to the bid procedures to provide for

fair, competitive bidding on the Debtors’ assets, specifically that DFA’s purchase price should be

allocated among the various assets it proposed purchasing.

       15.     On March 9, 2020, MDVA also filed an objection to the proposed bid procedures

in the Sale Motion [Docket No. 1058]. Like Food Lion, MDVA objected to the Debtors’ failure
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to require that the DFA purchase price be allocated among the various assets it proposed

purchasing and raised concerns about the antitrust issues inherent in the proposed sale to DFA.

        16.      At the Bid Procedures Hearing, the Court denied the Debtors’ request to name DFA

the “Stalking Horse Bidder,” denied the Debtors’ request to establish bidding protections for the

benefit of DFA, established March 30, 2020, as the deadline for parties to submit bids to purchase

any of the Debtors’ assets, and set the sale hearing for April 3, 2020. On March 19, 2020, the

Court entered an order approving the bidding procedures (the “Bidding Procedures Order”)

[Docket No. 1178]. Under the Bidding Procedures Order, interested parties were authorized to

submit bids for individual assets, pools of assets, or substantially all of the Debtors’ assets.

However, the Bidding Procedures Order did not require bidders to allocate their purchase price

among the various assets covered by their bids.

        17.      On March 30, 2020, DFA submitted a bid to purchase the majority of the Debtors’

assets, including the Carolinas Facilities, as well as several other milk plants across the United

States. As required by the Bidding Procedures Order, shortly after midnight of March 30-31, 2020,

Dean filed with the Bankruptcy Court the Notice of Bid Results [Docket No. 1270], which, inter

alia, identified DFA as the winning bidder for assets it bid on, including the Carolinas Facilities.

Several other parties submitted bids, including MDVA, which submitted a bid for the Carolinas

Facilities located in High Point, North Carolina. MDVA was selected as the backup bidder for

this facility.

        18.      On April 1, 2020, Food Lion filed a limited objection (the “Limited Objection”)

[Docket No. 1406] to the DFA Sale due to the potential anticompetitive impact the sale would

have on the milk market in the Carolinas.




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       19.     On April 1, 2020, MDVA filed an objection and reservation of rights (the “MDVA

Objection”) [Docket No. 1415] to the DFA Sale raising the same potential anticompetitive

impacts the sale would have on the milk market in the Carolinas.

       20.     At the conclusion of the sale hearing on April 3, 2020, the Bankruptcy Court

approved the DFA Sale. On April 5, 2020, the Court entered its order approving the DFA Sale

(the “DFA Sale Order”) [Docket No. 1572]. The DFA Sale Order has attached to it at Exhibit A

the Asset Purchase Agreement between the Debtors and DFA. The DFA Sale Order further

authorized the Debtors, in the event DFA fails to close, to sell assets to the backup bidders.

       21.     To partially resolve the Limited Objection and the MDVA Objection, the Debtors

and DFA both agreed to include the following language in the DFA Sale Order to preserve

Movants’ rights to challenge the DFA Sale:

       Anti-Trust Enforcement. Notwithstanding anything to the contrary contained
       herein, no provision of this Order or the APA shall operate to impair, prejudice, or
       otherwise abrogate the rights (if any) of The Stop & Shop Supermarket Company
       LLC and Food Lion LLC, the Maryland and Virginia Milk Producers Cooperative
       Association, Inc. and the California Dairies, Inc. and any of their affiliates,
       subsidiaries, successors, or assigns, to challenge the Sale Transaction under the
       antitrust laws of the United States. All such rights are explicitly reserved pursuant
       to this order.

DFA Sale Order ¶ 37. As a result, Movants retain the right file the proposed action to enjoin the

DFA Sale. However, the automatic stay under section 362 of the Bankruptcy Code may prevent

Movants from exercising those rights at this time.

II.    The Debtors and DFA’s Anticompetitive Conduct

       22.     Movants’ concerns about the anticompetitive effects of the DFA Sale are rooted in

a long history of anticompetitive conduct by both the Debtors and DFA. In short, as demonstrated

in the draft complaint attached at Exhibit A, the Debtors and DFA have a pattern of acting in

concert to use their respective power in the processed and raw milk markets to push competitors


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out and consolidate the markets for themselves. Moreover, as further explained in the draft

complaint, the sale of all the Debtors’ assets in North Carolina to DFA will exacerbate the

competitive concerns there and threatens significant harm to Movants.

                                             RELIEF REQUESTED

        23.      Movants seek entry of an order modifying the automatic stay to allow them to

commence an action under Section 7 of the Clayton Act in the District Court to enjoin the Debtors

from conveying the Carolinas Facilities to DFA.

                                               BASIS FOR RELIEF

        24.      Section 362(d)(1) of the Bankruptcy Code allows the Court to grant relief from the

automatic stay for “cause, including lack of adequate protection.” 2 Because the Bankruptcy Code

does not define what constitutes “cause” under Section 362(d)(1), courts must determine whether

relief from the stay is appropriate on a case-by-case basis. 3 The Fifth Circuit has noted that this

lack of definition affords “flexibility to the bankruptcy courts.” 4 Courts have held that such

“cause” includes allowing an action to proceed before another court. 5

        25.      In determining whether cause exists to modify the automatic stay to allow litigation

to proceed in another forum, bankruptcy courts consider certain factors, including the following

twelve, non-exclusive factors:

        (1) whether the relief will result in a partial or complete resolution of the issues;

        (2) lack of any connection with or interference with the bankruptcy case;



2
    11 U.S.C. § 362(d)(1).
3
    Reitnauer v. Tex. Exotic Feline Found., Inc. (In re Reitnauer), 152 F.3d 341, 343 n.4 (5th Cir. 1998).
4
    Bonneville Power Admin. v. Mirant Corp. (In re Mirant Corp.), 440 F.3d 238, 253 (5th Cir. 2006) (citations
    omitted).
5
    See, e.g., In re Xenon Anesthesia of Tex., PLLC, 510 B.R. 106, 112 (Bankr. S.D. Tex. 2014) (“Allowing a matter
    to proceed in another forum may constitute cause.”).

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        (3) whether the other proceeding involves Debtor as a fiduciary;

        (4) whether a specialized tribunal has been established to hear the particular cause
        of action;

        (5) whether the debtor’s insurer has assumed full responsibility;

        (6) whether the action primarily involves third parties;

        (7) whether litigation in the other forum would prejudice the interests of other
        creditors;

        (8) whether the judgment claim arising from the other action is subject to equitable
        subordination;

        (9) whether movant’s success would result in a judicial lien avoidable by the debtor;

        (10) interests of judicial economy and the expeditious and economical resolution
        of litigation;

        (11) whether the proceedings have progressed to the point that parties are ready for
        trial; and

        (12) impact of the stay on the parties and the balance of harm. 6

        26.      Not all factors may be relevant to each case and the decision to lift the stay is

ultimately within the discretion of the Court. 7 “Further, the decision to lift the stay may be upheld

on judicial economy grounds alone.” 8

        27.      Here, the interests of judicial economy and the expeditious and economical

resolution of litigation strongly favor relief from the stay because even if Food Lion were to bring

its antitrust claims before this Court, such action would be subject to mandatory withdrawal of the

reference under 28 U.S.C. § 157(d). That section provides that “[t]he district court shall, on timely

motion of a party, so withdraw a proceeding if the court determines that resolution of the

proceeding requires consideration of both title 11 and other laws of the United States regulating


6
    Id. (citing In re Curtis, 40 B.R. 795, 799–800 (Bankr. D. Utah 1984)).
7
    See, e.g., In re Sonnax Indus., Inc., 907 F.2d 1280, 1286 (2d Cir. 1990).
8
    Xenon Anesthesia of Tex., 510 B.R. at 112.

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organizations or activities affecting interstate commerce.” 9 Courts have interpreted this section to

require mandatory withdrawal where “the claim and defense entail material and substantial

consideration of non-Bankruptcy Code federal law.” 10

         28.      Consideration of Movants’ claims will necessarily entail material and substantial

consideration of federal antitrust law. Adjudication of Movants’ claims would require far more

than “simple application of fixed legal standards.” 11 Rather, adjudication of Movants’ claims

would require a full antitrust proceeding, including identifying the relevant product and geographic

market and determining whether the DFA Sale violates Section 7 of the Clayton Act. Courts

usually find that the presence of substantial and material antitrust issues necessitates mandatory

withdrawal. 12

         29.      Since any attempt to prosecute Movants’ antitrust claims in this Court would

necessarily result in removal of the action to a federal district court, and the District Court is located

in the district where the majority of the Carolinas facilities are located, interests of judicial

economy and the expeditious and economical resolution of litigation strongly favor relief from the

stay.

         30.      In addition, granting the motion will result in complete resolution of the issues

because the District Court will either enjoin the sale of the Carolinas Facilities or not. If the District

Court does not enjoin the sale of the Carolinas Facilities, then the DFA sale will be allowed to

close as planned. Movants intend to seek an expedited hearing in the District Court to resolve the



9
     28 U.S.C. § 157(d).
10
     Levine v. M & A Custom Home Builder & Developer, LLC, 400 B.R. 200, 203 (S.D. Tex. 2008).
11
     Lifemark Hosps. of Louisiana, Inc. v. Liljeberg Enterprises, Inc., 161 B.R. 21, 24 (E.D. La. 1993).
12
     See, e.g., Lifemark Hosps. of Louisiana, Inc., 161 B.R. at 27 (holding that proceedings requiring substantial and
     material consideration of antitrust laws necessitated mandatory withdrawal); Michigan Milk Producers Ass'n v.
     Hunter, 46 B.R. 214, 216 (N.D. Ohio 1985) (same).

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matter as soon as practicable. And while Movants do not doubt this Court’s ability to understand

the issues at stake in antitrust litigation, the District Court is highly experienced in adjudicating

such matters and is located in the same region as the Carolinas Facilities. Such claims are regularly

brought before the District Court, and the District Court will be very familiar with all aspects of

Movants’ claims. Finally, if the stay is not lifted to allow Movants to commence the antitrust

action before the DFA Sale closes, Movants will lose their ability to seek effective pre-closing

antitrust relief.

                                     BASIS FOR EMERGENCY RELIEF

        31.         Emergency relief is requested because the Debtors have stated that the DFA Sale is

set to close sometime at the end of April or in early May. Accordingly, Movants submit that

emergency consideration is warranted. In accordance with Bankruptcy Local Rule 9013-1(i),

counsel for Movants hereby certifies the accuracy of this Motion.

                                     CERTIFICATE OF CONSULTATION

        32.         In accordance with Bankruptcy Local Rule 4001-1(a)(1), the undersigned counsel

for Food Lion hereby certifies that on April 20, 2020, counsel conferred with counsel for the

Debtors and was unable to reach an agreement on the requested relief in this Motion.

                                               CONCLUSION

        33.         For the reasons set forth above, Movants respectfully request that the court enter an

order (i) modifying the automatic stay to allow Movants to commence an antitrust action

challenging the DFA Sale and (ii) granting such other and further relief as the Court deems just

and equitable.




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Dated: April 20, 2020
       Houston, Texas

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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 20, 2020, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF notification system on the parties
registered to receive electronic notices in this case.

                                             By:     /s/ Timothy A. (“Tad”) Davidson II
                                                     Timothy A. (“Tad”) Davidson II
